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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                         No. CV-17-02192-PHX-DGC
10                  Plaintiff,                         PRELIMINARY INJUNCTION
11   v.
12   Louis Jarges Akrawi,
13                  Defendant.
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16            The Court held a hearing in this matter on July 13, 2017. The Court was informed
17   before and during the hearing that (1) Defendant is permitting medical monitoring,
18   including taking of his vital signs and urine and blood samples; (2) Defendant is taking
19   hydration, a daily vitamin, and a thiamine vitamin; (3) Defendant will begin taking
20   liquefied food, and perhaps solid food, but may resume his hunger strike – refusing to
21   take liquefied or solid food – if he is not housed with his fellow Iraqi Chaldean
22   Christians.
23            With the agreement of the parties, as stated on the record during the hearing, this
24   preliminary injunction will require a continuation of (1) and (2) above, but will not
25   authorize force feeding or the use of restraints. If Defendant refuses (1) or (2) above, the
26   government may seek further injunctive relief authorizing the use of restraints to
27   accomplish (1) and (2). If Defendant continues or resumes refusing liquefied and solid
28   food, and the government concludes that he is in danger of serious injury or death, the
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 1   government may seek further injunctive relief from the Court. The Court makes no
 2   decision today on how it will rule on future requests for injunctive relief.
 3          IT IS ORDERED: The government, through competent medical practitioners,
 4   may conduct medical monitoring of Defendant Akrawi, including obtaining daily weight,
 5   vital signs, and urine and blood samples, and may administer to Defendant hydration, a
 6   daily multi-vitamin, and a thiamine vitamin. The government is not authorized by this
 7   order to use restraints in monitoring Defendant’s health or administering hydration or
 8   vitamins, beyond the normal restraints incident to Defendant’s detention.
 9          Dated this 13th day of July, 2017.
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